        Case 2:14-cv-00824-MSG Document 39 Filed 06/04/18 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________________
                                             :
UNITED STATES OF AMERICA                     :
ex rel. SARAH BEHNKE,                        : CIVIL ACTION
                                             :
                  Plaintiffs,                :
                                             : No. 14–cv-824
             v.                              :
                                             :
CVS CAREMARK CORPORATION, et al.,            :
                                             :
                  Defendants.                :
____________________________________________:

                                          ORDER

       AND NOW, this 4th day of June, 2018, upon consideration of the “Motion for Leave to

File Under Seal a Motion for Limited Intervention and Protective Order” filed by Non-Party

Movant Aetna, Inc. (Doc. No. 32), and following an on-the-record telephone conference

regarding the Motion, it is hereby ORDERED that the Motion is DENIED WITHOUT

PREJUDICE.

       Non-Party Movant Aetna, Inc. may publicly file a motion for limited intervention and a

protective order. Should the Court—after considering such a motion and any responses thereto—

require additional information or documents, Aetna, Inc. may be directed to provide such

information or documents for review in camera.



                                                  BY THE COURT:

                                                  /s/ Mitchell S. Goldberg

                                                  _____________________________
                                                  MITCHELL S. GOLDBERG, J.
